             Case:23-14158-MER Doc#:1 Filed:09/15/23                                  Entered:09/15/23 16:18:36 Page1 of 31


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Worldwide Moving Systems LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  501 South Francis Street
                                  Longmont, CO 80501
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Boulder                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Worldwide Moving Systems LLC                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Worldwide Moving Systems LLC                                                                    Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Worldwide Moving Systems LLC                                              Case number (if known)
         Name

                            $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                            $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Worldwide Moving Systems LLC                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 15, 2023
                                                  MM / DD / YYYY


                             X /s/ Gary M. Buchholtz                                                      Gary M. Buchholtz
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X /s/ Payton L. Buhler                                                        Date September 15, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Payton L. Buhler
                                 Printed name

                                 Bell, Gould, Linder & Scott P.C.
                                 Firm name

                                 318 East Oak Street
                                 Fort Collins, CO 80524
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     970-493-8999                  Email address      pbuhler@bell-law.com

                                 56399 CO
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Worldwide Moving Systems LLC

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 15, 2023              X /s/ Gary M. Buchholtz
                                                           Signature of individual signing on behalf of debtor

                                                            Gary M. Buchholtz
                                                            Printed name

                                                            Managing Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Worldwide Moving Systems LLC

 United States Bankruptcy Court for the:                       DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,180,500.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,180,500.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              5,563.59

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        2,720,621.72


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,726,185.31




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         Worldwide Moving Systems LLC

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   ANB Bank 808 W. Eisenhower
          3.1.     Boulevard, Loveland, Colorado 80537               Checking                              9525                                             $0.00



                   ANB Bank 808 W. Eisenhower
          3.2.     Boulevard, Loveland, Colorado 80537               Comdata                               0387                                             $0.00



                   ANB Bank 808 W. Eisenhower
          3.3.     Boulevard, Loveland, Colorado 80537               Savings                               2794                                             $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                           $0.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor       Worldwide Moving Systems LLC                                              Case number (If known)
             Name


      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                       Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers     debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                             (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.   2019 Momentum; MFG by Grand Design
                  estimated value based on comparable
                  sales $95,000, reduced to account for
                  salvage title
                  **Titled to Gary Buchholtz, however,
                  they are property of debtor. Member is
                  willing to purchase.                                        Unknown          Comparable sale                   $48,000.00


          47.2.   2020 GMC Sierra
                  estimated value based on comparable
                  sales $65,000, reduced to account for
                  salvage title
                  **Titled to Gary Buchholtz, however,
                  they are property of debtor. Member is
                  willing to purchase.                                        Unknown          Comparable sale                   $40,000.00



Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                     page 2
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Debtor        Worldwide Moving Systems LLC                                                 Case number (If known)
              Name

48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

51.        Total of Part 8.                                                                                                           $88,000.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                                Current value of
                                                                                                                                debtor's interest


71.        Notes receivable
           Description (include name of obligor)
           Promissory note from sale of assets                       1,092,500.00 -                                    0.00 =
           to Seevers Transfer & Storage LLC                     Total face amount      doubtful or uncollectible amount
           on February 10, 2023:
           STS Relocation LLC, Scot Seevers
           Managing Member
           501 South Francis Street Unit B
           Longmont, CO 80501                                                                                                          $1,092,500.00


           Vault payments- storage fees for                              25,000.00 -                             25,000.00 =
           abandoned vaults- not collectible                     Total face amount      doubtful or uncollectible amount                   Unknown



72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                            page 3
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Debtor      Worldwide Moving Systems LLC                                            Case number (If known)
            Name



73.      Interests in insurance policies or annuities

74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                   $1,092,500.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                   page 4
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Debtor          Worldwide Moving Systems LLC                                                                        Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $88,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +              $1,092,500.00

91. Total. Add lines 80 through 90 for each column                                                         $1,180,500.00            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,180,500.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 5
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Fill in this information to identify the case:

Debtor name       Worldwide Moving Systems LLC

United States Bankruptcy Court for the:       DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1
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Fill in this information to identify the case:

Debtor name        Worldwide Moving Systems LLC

United States Bankruptcy Court for the:          DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $4,717.13         $4,717.13
          Internal Revenue Service                             Check all that apply.
          PO Box 7346                                             Contingent
          Philadelphia, PA 19101                                  Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               941 Taxes

          Last 4 digits of account number 5123                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                 $846.46        $846.46
          State of Colorado CUC                                Check all that apply.
          PO Box 956                                              Contingent
          Denver, CO 80201                                        Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Taxes

          Last 4 digits of account number 5123                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 6
                                                                                                               47360
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Debtor      Worldwide Moving Systems LLC                                                    Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $5,010.94
         1st Bank                                                     Contingent
         1352 W. Eisenhower Blvd.                                     Unliquidated
         Loveland, CO 80537                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Banking
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $250.00
         Bill Sullivan                                                Contingent
         2600 Harte Dr.                                               Unliquidated
         Brighton, MI 48114                                           Disputed
         Date(s) debt was incurred 11/29/22
                                                                   Basis for the claim: Deductible for claim
         Last 4 digits of account number 4821
                                                                   Is the claim subject to offset?     No       Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $263,346.59
         Buchholtz TLC Comercial                                      Contingent
         501 S. Francis St.                                           Unliquidated
         Longmont, CO 80501                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $983.66
         Chris Neikirk                                                Contingent
         6045 Powder Point Dr.                                        Unliquidated
         Hickory, NC 28601                                            Disputed
         Date(s) debt was incurred 1/18/23
                                                                   Basis for the claim: overpayment
         Last 4 digits of account number 7680
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $62,191.00
         Cline Williams Wright Johnson &Oldfather                     Contingent
         233 S 13th St.                                               Unliquidated
         Lincoln, NE 68508                                            Disputed
         Date(s) debt was incurred 4-26-2023
                                                                   Basis for the claim: Legal fees
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $7,459.73
         Com Data                                                     Contingent
         5301 Maryland Way                                            Unliquidated
         Brentwood, TN 37027                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Fuel Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $17,850.40
         Custom Movers Services                                       Contingent
         3290 Kent Road                                               Unliquidated
         Stow, OH 44224                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: 3rd party services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 6
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Debtor      Worldwide Moving Systems LLC                                                    Case number (if known)
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,180.00
         Dave Furtado                                                 Contingent
         124 Bayswater St.                                            Unliquidated
         Boston, MA 02128                                             Disputed
         Date(s) debt was incurred 12/26/22
                                                                   Basis for the claim: Claim re storage
         Last 4 digits of account number 4029
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $30,908.05
         E-470 Public Highway Authority                               Contingent
         PO Box 5470                                                  Unliquidated
         Denver, CO 80217                                             Disputed
         Date(s) debt was incurred 2/2023
                                                                   Basis for the claim: Tolls
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $25,618.90
         Equipment Savers                                             Contingent
         5040 Havana St.                                              Unliquidated
         Denver, CO 80239                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Mechanical services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $30,593.29
         Fleet One                                                    Contingent
         1104 Country Hills Dr.                                       Unliquidated
         Ogden, UT 84403                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Fuel Card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $28,944.47
         John Patti                                                   Contingent
         16050 W. Highway 72                                          Unliquidated
         Gravette, AR 72736                                           Disputed
         Date(s) debt was incurred 1/3/22
                                                                   Basis for the claim: Claim re broken items
         Last 4 digits of account number T222
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,603,908.71
         Joshua Portschi                                              Contingent
         c/o The Temple Law Offices, LLC                              Unliquidated
         455 Sherman Street Suite 300                                 Disputed
         Denver, CO 80203
                                                                   Basis for the claim: Judgement in Personal injury lawsuit
         Date(s) debt was incurred 11/21/2019
         Last 4 digits of account number 2060                      Is the claim subject to offset?     No       Yes


3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,758.00
         Kevin O'Hara                                                 Contingent
         20203 Cane River Way                                         Unliquidated
         Tampa, FL 33647                                              Disputed
         Date(s) debt was incurred 6/7/22
                                                                   Basis for the claim: claim
         Last 4 digits of account number 3722
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Worldwide Moving Systems LLC                                                    Case number (if known)
            Name

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $905.00
         Lynn Pendlebury                                              Contingent
         37594 S Spoon Dr.                                            Unliquidated
         Tucson, AZ 85739                                             Disputed
         Date(s) debt was incurred 3/25/22
                                                                   Basis for the claim: Claim for damage and missing items
         Last 4 digits of account number 1422
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $263.00
         Margot Iwanchuk                                              Contingent
         12996 W. Montane Dr.                                         Unliquidated
         Broomfield, CO 80021                                         Disputed
         Date(s) debt was incurred 8-1-22
                                                                   Basis for the claim: Claim
         Last 4 digits of account number 6422
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,439.99
         Mark Scully                                                  Contingent
         565 Pasture Brook Rd.                                        Unliquidated
         Severn, MD 21144                                             Disputed
         Date(s) debt was incurred 5/21/22
                                                                   Basis for the claim: claim for damaged items
         Last 4 digits of account number 3422
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $500.00
         Michelle Heichelheim                                         Contingent
         4916 Ivy Charm Way                                           Unliquidated
         Fort Worth, TX 76114                                         Disputed
         Date(s) debt was incurred 11/19/21
                                                                   Basis for the claim: claim settlement
         Last 4 digits of account number 5721
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $202,813.08
         North American Van Lines                                     Contingent
         5001 US Highway 30                                           Unliquidated
         Fort Wayne, IN 46818                                         Disputed
         Date(s) debt was incurred 10-27-22
                                                                   Basis for the claim: Business Contract
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $550.00
         Peggy Seyfert                                                Contingent
         10035 Des Moines CT                                          Unliquidated
         Parker, CO 80134                                             Disputed
         Date(s) debt was incurred 9/13/22
                                                                   Basis for the claim: claim for broken items
         Last 4 digits of account number 7222
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,695.00
         Petrali Pro Services                                         Contingent
         5376 Tomah Dr. 101                                           Unliquidated
         Colorado Springs, CO 80918                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Mold removal
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 4 of 6
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Debtor       Worldwide Moving Systems LLC                                                           Case number (if known)
             Name

3.22      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $5,515.00
          Pinnacol Assurance                                                  Contingent
          750 E. Lowery Blvd.                                                 Unliquidated
          Denver, CO 80230                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Insurance
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.23      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $40,000.00
          Roslyn Saunders                                                     Contingent
          12835 E Arapahoe Rd. Suite 700                                      Unliquidated
          Centennial, CO 80112                                                Disputed
          Date(s) debt was incurred 2/25/22
                                                                           Basis for the claim: claim for broken items
          Last 4 digits of account number 1122
                                                                           Is the claim subject to offset?         No    Yes

3.24      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $284,700.00
          Small Business Administration                                       Contingent
          721 19th St. Suite 426                                              Unliquidated
          Denver, CO 80202                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Business loan
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.25      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $13,811.00
          Specialized Moving Services                                         Contingent
          2021 W. Bates Ave.                                                  Unliquidated
          Englewood, CO 80110                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: 3rd Party services
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.26      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $83,335.76
          Transguard                                                          Contingent
          PO Box 51138                                                        Unliquidated
          Los Angeles, CA 90074                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Insurance
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.27      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $5,090.15
          Victory Packing                                                     Contingent
          19673 E 32nd Pkwy                                                   Unliquidated
          Aurora, CO 80011                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Materials
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Cline Williams Wright Johnson &Oldfather
          215 Mathews Street Suite 300                                                              Line     3.5
          Fort Collins, CO 80524
                                                                                                           Not listed. Explain


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Debtor      Worldwide Moving Systems LLC                                                Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                       related creditor (if any) listed?             account number, if
                                                                                                                                     any
4.2       E-470 Public Highway Authority
          22470 E Stephen D Hoan Pkwy                                                  Line     3.9
          Aurora, CO 80018
                                                                                              Not listed. Explain

4.3       Joshua Portschi
          1730 North Corona St.                                                        Line     3.13
          Colorado Springs, CO 80907
                                                                                              Not listed. Explain

4.4       Small Business Administration
          PO Box 740192                                                                Line     3.24
          Atlanta, GA 30374-0192
                                                                                              Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                      5,563.59
5b. Total claims from Part 2                                                              5b.    +     $                  2,720,621.72

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                    2,726,185.31




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Fill in this information to identify the case:

Debtor name       Worldwide Moving Systems LLC

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Worldwide Moving Systems LLC

United States Bankruptcy Court for the:   DISTRICT OF COLORADO

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Gary Buchholtz              501 S. Francis                                            Com Data                           D
                                      Longmont, CO 80501                                                                           E/F       3.6
                                                                                                                                   G




   2.2    Gary Buchholtz              501 S. Francis                                            Fleet One                          D
                                      Longmont, CO 80501                                                                           E/F       3.11
                                                                                                                                   G




   2.3    Gary Buchholtz              501 S. Francis                                            Small Business                     D
                                      Longmont, CO 80501                                        Administration                     E/F       3.24
                                                                                                                                   G




   2.4    Gary Buchholtz              501 S. Francis                                            1st Bank                           D
                                      Longmont, CO 80501                                                                           E/F       3.1
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Worldwide Moving Systems LLC

United States Bankruptcy Court for the:    DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                  Unknown
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $293,371.57
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                               $308,176.92
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor       Worldwide Moving Systems LLC                                                       Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   Buchholtz TLC Commercial LLC                          9/14/22 -                       $124,400.00           Rent (NNN)
             501 S. Francis St.                                    9/15/23
             Longmont, CO 80501
             non

      4.2.   Bittersweet Liquor Investments LLC                    9/14/22 -                        $92,500.00           Distribution
             3504 W/ 10th Street                                   9/15/23
             Greeley, CO 80634
             none

      4.3.   Buchholtz TLC Comercial LLC                           9/14/22 -                        $28,700.00           Distribution
             501 S. Francis St.                                    9/15/23
             Longmont, CO 80501
             none

      4.4.   Gary Buchholtz                                        9/14/22 -                          $6,000.00          Distributions
             501 S. Francis St.                                    9/15/23
             Longmont, CO 80501
             manager

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   JOSHUA PORTSCHI                           law suit                    El Paso County District                       Pending
             2021CV032060                                                          Court                                         On appeal
                                                                                   270 S. Tejon Street
                                                                                                                                 Concluded
                                                                                   Colorado Springs, CO
                                                                                   80903



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Debtor        Worldwide Moving Systems LLC                                                       Case number (if known)



              Case title                              Nature of case               Court or agency's name and                 Status of case
              Case number                                                          address
      7.2.    Paul Brownstein Vs                                                   Superior Court Of Chatham                     Pending
              Worldwide Moving Systems,                                            County,                                       On appeal
              LLC                                                                  State of Georgia
                                                                                                                                 Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                            Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss               Value of property
      how the loss occurred                                                                                                                               lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates                    Total amount or
               the transfer?                                                                                                                            value
               Address
      11.1.    Bell, Gould Linder & Scott PC
               318 E. Oak Street
               Fort Collins, CO 80524                   $4,000.00 plus filing fee of $338                             9-14-2023                     $4,338.00

               Email or website address


               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

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Debtor       Worldwide Moving Systems LLC                                                       Case number (if known)




         None.

      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

         None.

             Who received transfer?                    Description of property transferred or                    Date transfer              Total amount or
             Address                                   payments received or debts paid in exchange               was made                            value
      13.1                                             inventory, equipment, vehicles & rolling
      .                                                stock, fixtures, furniture, licenses,
             Seevers Transfer & Storage                continuing contracts, permits, business
             LLC                                       records, business goodwill, business &
             501 South Francis Street                  trade secrets, business forms, and
             Unite B                                   business and trade names, and all other
             Longmont, CO 80501                        tangible and intangible property.                         2/10/2023                   $1,150,000.00

             Relationship to debtor
             none


      13.2 Unknown                                     1987 International Harvester; Sold for
      .                                                scrap                                                     3/2014                             $800.00

             Relationship to debtor
             None


      13.3                                             1982 Tempte Trailer, sold for scrap
      .                                                8/2022
                                                       2000 Pullman Trailer, sold for scrap
                                                       9/2021
                                                       2000 Wabash Trailer, sold for scrap
             Marques Towing                            9/2021
             1510 Monarch Dr                           2008 Wabach Trailer, sold for scrap
             Longmont, CO 80504                        3/2019                                                    2019-2022                        $2,600.00

             Relationship to debtor
             none


      13.4 Van Liner Insurance
      .    c/o Beeline Auto & Truck
             Salvage
             4754 S. Madison
             Wichita, KS 67216                         2012 Volvo Tractor                                        11-2018                         $36,887.00

             Relationship to debtor
             None


      13.5 Rush Truck Center                           2011 International Tractor, Signed over
      .    Atlanta, GA                                 title for $3500 Repair Bill                               8-1-2017                         $3,500.00

             Relationship to debtor
             none




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             Who received transfer?                    Description of property transferred or                     Date transfer            Total amount or
             Address                                   payments received or debts paid in exchange                was made                          value
      13.6 Northside Towing
      .    10 S Main Street Unit G                     2012 Freightliner Tractor, Signed over
             Longmont, CO 80501                        title for $2500 Tow Bill                                   2/2018                         $2,500.00

             Relationship to debtor
             none


 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 email, physical address, phone, credit card, name
                 Does the debtor have a privacy policy about that information?
                   No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.    First Bank of Northern                   XXXX-5823                     Checking                 2/15/2023                                  $0.00
               Colorado                                                               Savings
               1352 W. Eisenhower Blvd
                                                                                      Money Market
               Loveland, CO 80537
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.



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           No.
           Yes. Provide details below.

      Case title                                           Court or agency name and              Nature of the case                            Status of case
      Case number                                          address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                            Describe the nature of the business               Employer Identification number
                                                                                                      Do not include Social Security number or ITIN.

                                                                                                      Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                Date of service
                                                                                                                                      From-To
      26a.1.        Sara Cliburn, Bookkeeper                                                                                          2020 to present
                    501 S. Francis
                    Longmont, CO 80501
      26a.2.        Patrick Grady CPA                                                                                                 2020 to present
                    11633 Shoshone Way
                    Westminster, CO 80234

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                Date of service
                                                                                                                                      From-To
      26b.1.        PG Accounting LLC                                                                                                 2020 to present
                    Patrick Grady CPA
                    11633 Shoshone Way
                    Westminster, CO 80234




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Debtor      Worldwide Moving Systems LLC                                                        Case number (if known)



      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.2.        Sara Cliburn, Bookkeeper                                                                                        2020 to present
                    501 S. Francis
                    Longmont, CO 80501

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        ANB Bank
                    808 W. Eisenhower
                    Loveland, CO 80537

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory
      27.1 Scot Seevers
      .                                                                             02/10/2023               $43,000 - Cost Basis (in asset sale)

               Name and address of the person who has possession of
               inventory records
               N/A



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Gary M. Buchholtz                       501 S Francis Street                                Managing member                           100%
                                              Longmont, CO 80501



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.
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             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.1 Gary M. Buchholtz
      .    501 S. Francis Street                                                                                                   Distribution in lieu
             Longmont, CO 80501                        $127,200                                                  various dates     of salary

             Relationship to debtor
             Managing Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 15, 2023

/s/ Gary M. Buchholtz                                           Gary M. Buchholtz
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                              United States Bankruptcy Court
                                                         District of Colorado
 In re    Worldwide Moving Systems LLC                                                         Case No.
                                                                   Debtor(s)                   Chapter     7




                                  VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:     September 15, 2023                           /s/ Gary M. Buchholtz
                                                       Gary M. Buchholtz/Managing Member
                                                       Signer/Title
